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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 1:21-cr-00553-RJL
               v.                              :
                                               :
THOMAS BALLARD,                                :
                                               :
                       Defendant.              :


UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE AND TOLLING OF
                     THE SPEEDY TRIAL ACT

       The United States respectfully files this unopposed motion for to continue the status

conference currently set for February 2, 2023 at 4:00 p.m. for approximately thirty days and a

tolling of the Speedy Trial Act until a new status or plea date has been scheduled.

       In support of this motion the government sets forth the following:

 1. The parties have been in plea negotiations and a proposed plea agreement has recently been

     extended to the defendant.

 2. A continuance is requested to afford counsel for the defendant the opportunity to consult with

     the defendant regarding the proposed plea agreement and to advise the court as to the status

     of the case.

3. It is in the interest of justice to toll the Speedy Trial Act until the new status conference or plea

   date. The government therefore request a tolling of the Speedy Trial Act, pursuant to 18 U.S.C.

   § 3161(h)(7)(A), based on the factors described in 18 U.S.C. 3161(h)(7)(B)(i) and (iv) and

   request an exclusion of time under the Speedy Trial Act from February 2, 2023, through the

   new status conference date or plea date.

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES


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                                  D.C. Bar No.481052


                                  By: /s/ Barry K. Disney_____
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                                CERTIFICATE OF SERVICE


        I hereby certify that a copy of this motion, along with the proposed sealed documents and

the proposed order granting this motion, are being served on defense counsel via email on July xx,

2022.

                                             /s Barry K. Disney___________




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